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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:
                                                                             Chapter 11
                                                              1
               Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On October 16, 2023, at my direction and under my supervision, employees of Stretto
           caused the following document to be served via first-class mail on the service list attached hereto
           as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                       Amended Notice to Contract Parties to Potentially Assumed Executory Contracts and
                        Unexpired Leases (Docket No. 296)

                   Furthermore, on October 17, 2023, at my direction and under my supervision, employees
           of Stretto caused the following document to be served via electronic mail on the service list
           attached hereto as Exhibit C:

                       Amended Notice to Contract Parties to Potentially Assumed Executory Contracts and
                        Unexpired Leases (Docket No. 296)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           document via electronic service.


           Dated: October 26, 2023                                                    _____________________________
                                                                                             Andrew K. Fitzpatrick
           State of Colorado                )
                                            ) SS.
           County of Denver                 )

           Subscribed and sworn before me this 26th day of October 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)

           ______________________________________________
           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                                                 Exhibit A




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                                                                           Exhibit A
                                                                     Served via First-Class Mail
                             Name                    Attention                    Address 1                Address 2       City     State Zip
                Brex                                                 405 Howard Street                    Suite 200  Salt Lake City UT   84101
                Coinbits Business              Attn: Maher Janajri   1551 Crabapple Ln                               Plainfield     NJ   07060
                First Choice Coffee Services                         7525 Colbert Dr Ste 104                         Reno           NV   89511
                                                                     11201 North Tatum Blvd, Suite 300,
                Fold, Inc.                     Attn: Will Reeves     #42035                                          Phoenix      AZ    85028
                Kado Software, Inc             Attn: Emery Andrew    100 Summer St. Suite 1600                       Boston       MA    02110




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                                                 Exhibit B




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                                                                              Exhibit B
                                                                        Served via Electronic Mail
                                                      Name                     Attention 1                   Email
                                         Brex                                                    ar@brex.com
                                         Coinbits Business               Attn: Maher Janajri     maher@coinbitsapp.com
                                         First Choice Coffee Services                            reno@firstchoiceservices.com
                                         Fold, Inc.                      Attn: Will Reeves       will.reeves@foldapp.com
                                         Kado Software, Inc              Attn: Emery Andrew      emery@kado.money




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                                                 Exhibit C




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                                                                         Exhibit C
                                                                   Served via Electronic Mail
                                             Name               Attention 1                        Email
                                          CubeSmart                                    STORE0438@CUBESMART.COM
                                          Homium      Attn: David Jette COO/CFO        david@homium.io
                                                      Attn: Lawrence Young (General
                                          Homium      Counsel/CCO)                     larry@homium.io
                                          WeWork      Attn: Leasing Manager            christian.meyers@wework.com




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